Case 8:20-cv-02418-CJC-JDE Document 9 Filed 03/16/21 Page 1 of 2 Page ID #:27



  1   BETSY C. MANIFOLD (SBN 182450)
      RACHELE R. BYRD (SBN 190634)
  2   MARISA C. LIVESAY (SBN 223247)
      BRITTANY N. DEJONG (SBN 258766)
  3   WOLF HALDENSTEIN ADLER
        FREEMAN & HERZ LLP
  4   750 B Street, Suite 1820
      San Diego, CA 92101
  5   Telephone: (619) 239-4599
      Facsimile: (619) 234-4599
  6   manifold@whafh.com
      byrd@whafh.com
  7   livesay@whafh.com
      dejong@whafh.com
  8
      Attorneys for Plaintiff
  9

 10                                UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 11

 12
      SHIVA STEIN,                               )   Case No. 8:20-cv-2418-CJC-JDE
 13                                              )
                                Plaintiff,       )   NOTICE OF VOLUNTARY DISMISSAL
 14                                              )
                                                 )
       v.                                        )
 15
                                                 )
 16   COLLECTORS UNIVERSE, INC., A.J.            )
      “BERT” MOYER, JOSEPH J. ORLANDO,           )
 17   BRUCE A. STEVENS, KATE W.                  )
      DUCHENE, VINA M. LEITE, JON M.             )   JUDGE:    Hon. Cormac J. Carney
 18   SULLIVAN, LORRAINE G. BARDEEN,             )   CTRM:     9B
      JENNIFER H. LEUER,                         )
 19                                              )
                                Defendants.      )
 20                                              )
                                                 )
 21                                              )
                                                 )
 22

 23

 24

 25

 26

 27

 28

                                                           NOTICE OF VOLUNTARY DISMISSAL
                                                                 Case No. 8:20-cv-2418-CJC-JDE
Case 8:20-cv-02418-CJC-JDE Document 9 Filed 03/16/21 Page 2 of 2 Page ID #:28




  1             PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure, rule
  2   41(a)(1)(A)(i), plaintiff Shiva Stein (“Plaintiff”) hereby voluntarily dismisses the above-captioned
  3   action (the “Action”) with prejudice. Defendants have filed neither an answer nor a motion for
  4   summary judgment. Plaintiff’s dismissal of the Action is therefore effective upon the filing of this
  5   notice.
  6
  7    DATED: March 16, 2021                               WOLF HALDENSTEIN ADLER
                                                            FREEMAN & HERZ LLP
  8
  9                                                        By:   /s/ Rachele R. Byrd
                                                                  RACHELE R. BYRD
 10
                                                           BETSY C. MANIFOLD
 11                                                        RACHELE R. BYRD
                                                           MARISA C. LIVESAY
 12                                                        BRITTANY N. DEJONG
                                                           750 B Street, Suite 1820
 13                                                        San Diego, CA 92101
                                                           Telephone: (619) 239-4599
 14                                                        Facsimile: (619) 234-4599
                                                           manifold@whafh.com
 15                                                        byrd@whafh.com
                                                           livesay@whafh.com
 16                                                        dejong@whafh.com
 17
                                                           Counsel for Plaintiff
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                     -1-
                                                                     NOTICE OF VOLUNTARY DISMISSAL
                                                                           Case No. 8:20-cv-2418-CJC-JDE
